     Case 1:18-cr-00258-BLW Document 758-1 Filed 02/24/21 Page 1 of 6
                                        r rvtrvrJ'   st flH YçtiattYrlt     f I ttl


                                 Juhn Carl, firlü                tiane Kenny,
                                 Elrandon                        fvl$¡*, PHP-BC
                                 Hapkins,     Mil                Anne Banas"
                                 Lisa Fcinbarg,                  M$N, TPNP
                                 MÜ                              tolleen McNatt,
                                 Douglas H*nry                   CPNP
                                 MD                              trin     MurdocÌç,

                                 Amy talhoun-                    fvlD

                                 Rssneck, $LF                    *iana $chnee,
                                                                 M$, RT, LD




Ts the famity of Rachel Petrodna *abichenks:

It was a pleasur* seeing Rachel at Cleveland Cllnic
Fedlatric Center for A*nruay, \ûrlcë änd $wallowing
orl 11712ü21 . Ënclased ärs the recorrlmendations
from each prtvidÊr's visit. lf Sraur child ls in need of
a procedure undsr ânesthesia, a $urgical
cotrdinator wil[ be contacting yäu. \file will ffiËtkË
sv*ry effort possible to coordinate these
prmedures under a single anesthesia.
       Case 1:18-cr-00258-BLW Document 758-1 Filed 02/24/21 Page 2 of 6


I     Formal sleep endoscopy and ainruay evaluation
      with pediatric ËNî, pediatric pulrnonary,
      pediatric Gl present" We tän considËr ä right
      æncurrent inferior turbinate rsduction.

Pediatrlc Fulmonâry Recammendations:

r     Ð*scussed hypersal tt see if this csuld helrp thin
      out secretians
r     Discussed cough assist that it would help with
      brlng up $eüretions and also help prevent
      further lung issues. Far'Ìrily would like to hold off
      on this at this time until after further
      interventions.
I     Tentatively; plan with f NT fsr cardlac
      evaluation, sleep study, triple sæpe and
      passible surgery based on findings if farnily is
      agreeable

Fed   iatric Gastroenterology Recommendations:

I     tontinue currsnt fsed$ * sodium
    supplementation
r   lf coming to tleveland for wark up recomnrend
    the follswing:
         Gastric emptying study
         Ilnner Gl
       Case 1:18-cr-00258-BLW Document 758-1 Filed 02/24/21 Page 3 of 6




lf you have any additional questions ûr concern$,
please feel free to contact our offices" ,4gain, thank
you for entrusting the cäre af your child with us"

Sincerely,

PfrAVS Tþam

Ðr. John tarl, Dr. Brandon Hapkins, Dr. Lisa
Feinberg, Amy Oalhoun-Rosn*ck $tR üiane
Kenny CPNP, Anne Bant$, CPNR tolleen McNatt,
CPNR [rln Murdock, MD, Diana Schnee, MS, RD,
LD
        Case 1:18-cr-00258-BLW Document 758-1 Filed 02/24/21 Page 4 of 6




Hi,

ljust recelved notification that all appointments and
prrcedures were approved. îhe anly appaintrnent that
wäs not apprÕved was with the Cole Eye ln*titute. I will
have our teanr reach out b your ærrdinatar. Please let us
kns$r if you need help with transpafiation tr lcdg*ng. lVe
tcak forward to yrurarrival on 31312t21 and seeing you in
PüAV$ on SfNZeZ1. Once all appointmentç made, you
shcutrd be aþte ta see all of them in MyChart. Flease let
me know if you have any questians or conterns.

Best,

Annie

r---- Mgssage r----
From: Rachel Petrovna Babichenko
Sent:2111i2t21 8:3S Pní ËSî
To:Anne ßana$, APRN.CNP
$ubject:RË: Visit Follow Up Questi*n

This rne$$age is being $ent by Zoya Babichenko an
behalf of Rachel Petrovnä Sabichenko.
                   Case 1:18-cr-00258-BLW Document 758-1 Filed 02/24/21 Page 5 of 6

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{ nack                           e
FUTURË

  MÅR
                   Lab
           3       starts at 1:15 pf\d rsT
 2ü21


  MÅR
                   Lab Main     R1
           3       starts at 1:4s phl!         rsî
 ,n)1
 L_\.¡ ¿_      I




 h4ÅR Echo
           3       Arrive by 1:45 Phd gST
 2*21              Starts at ä:üü PM ËST


 þ"4ÅR             Office Vst
                   Dr. K Zahka
       3           Arrive by 2:45 PM EST
 ')m?1
  nrlrl¡
 AVfu          I

                   $tarts at 3:üü rPM ËST

 h4ÅR tKG
    3
 rll-rnr
                   Arrive by ?:45 PM IST
                   Q**r**lr:* t'l1fì nh¡l ËCT
                    Case 1:18-cr-00258-BLW Document 758-1 Filed 02/24/21 Page 6 of 6




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TUTURE
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                    0FHCE VlslT and 5 othen
     4              äpprintnrent$
 ']*v1t {'l'}   1   Arrivs by B:15 AM fST
                    $tarts at 8:30 AM IST


 l,,lÅru            tffice Vst
                    ür" V Shah
     4
 /) f\'-r'l         Arrive by 12:45 PM tST
                    starts at 1:0t pM Ësî
  ,1 1 L/       I
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 þlAR Frocedure
     4              Arrive by S:3t Phl ËST
 ?ü2i               starts at 7:üt pM Ësî
